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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NORTH DAKOTA
                                  WESTERN DIVISION

Montana Oil Properties, Inc., Ryan Family     ) Civil No: 1:22-cv-00121-DLH-CRH
Mineral Partnership, S. Reger Family          )
Partnership, Baldridge Family Mineral         )
Partnership, Russell B. Icenoggle and         )
Polly Icenoggle, Forty-Five Ranch, LLC,       )
Kootenai Resources Corporation, Pierce        )
Family Mineral, LLC, and Western              )
Resources, LLC,                               )
                                              )
                       Plaintiffs,            )
                                              )
       vs.                                    )
                                              )
Whiting Oil and Gas Corporation,              )
                                              )
                       Defendant.             )


                   STIPULATION TO DISMISS WITHOUT PREJUDICE


       COME NOW the parties to the above-caption matter, by and through their counsels of

record, and hereby stipulate that:

       (1) the parties have discovered that diversity jurisdiction is lacking;

       (2) this case should be dismissed without prejudice for lack of subject matter jurisdiction;

             and

       (3) all parties to this stipulation shall bear their own respective attorney’s fees and costs.




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  DATED this 27th day of October, 2022.

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  DATED this 27th day of October, 2022.


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